                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION

 UNITED STATES OF AMERICA,
                Plaintiffs,                               CR11-3003-MWB
 vs.                                           REPORT AND RECOMMENDATION
                                                  ON MOTION TO SUPPRESS
 TODD REYNOLDS and KRISTIN
 MCCOY,
                Defendants.
                                 ____________________


         On January 19, 2011, the grand jury returned an Indictment against the defendants
Todd Allan Reynolds (“Reynolds”) and Kristen Joelle McCoy (“McCoy”) charging them
with conspiracy to manufacture and distribute methamphetamine and possession of
pseudoephedrine. Reynolds also was charged with manufacturing methamphetamine. See
Indictment, Doc. No. 1. On April 4, 2011, McCoy filed a motion to suppress evidence
seized during the execution of a search warrant at the residence of McCoy and Reynolds
in Webster City, Iowa. Doc. No. 29. On April 5, 2011, Reynolds joined in the motion.
Doc. No. 34. On April 11, 2011, the government resisted the motion. Doc. No. 38. The
motion has been assigned to the undersigned for a report and recommendation. Doc.
No. 9.
         The court held a hearing on the motion on April 21, 2011. Assistant United States
Attorney Shawn S. Wehde appeared on behalf of the government. The defendants
appeared personally with their attorneys, R. Scott Rhinehart, representing McCoy, and
Assistant Federal Public Defender Michael L. Smart, representing Reynolds.




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                               I. BACKGROUND FACTS
       On July 2, 2010, a Wright County Deputy Sheriff made a traffic stop on a vehicle
in which Reynolds was the driver and McCoy was a passenger. Reynolds was unable to
produce proof of insurance, so the deputy asked him to step out of the vehicle. The deputy
performed a patdown search and discovered a quantity of methamphetamine in Reynolds’
pocket. A drug dog was brought to the scene, and indicated on the vehicle. The deputy
then searched McCoy’s purse, and discovered marijuana and a marijuana pipe. Reynolds
and McCoy told the deputy they were coming from their residence in Webster City, Iowa,
and that before the traffic stop they had made no stops since leaving their residence. They
both were arrested for possession of drugs.          In a later search of the vehicle,
methamphetamine precursors were discovered in the trunk of the vehicle.
       The deputy applied for and obtained a search warrant for the defendants’ residence
in Webster City, Iowa. Probable cause for the warrant was based on the items seized
during the traffic stop, the items seized from the trunk of the vehicle, and the defendants’
statements that they did not stop anywhere between their residence and the traffic stop.
Although the residence was in Hamilton County, the search warrant was issued by a
Wright County magistrate, and served by a Wright County Deputy. In the search of the
residence, the officers found a number of items of evidence, including pill boxes and pill
blister packets.
       In the motion to suppress, the defendants seek to suppress the evidence seized from
the residence and pharmacy pill logs that were obtained based on an investigation of items
seized during the search.




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                                    II. DISCUSSION
                                   A. Probable Cause
       The defendants first argue that there was no probable cause to support the issuance
of the search warrant.     They base this claim on a statement in the affidavit that
“methamphetamine precursors” were located in the trunk of the vehicle. They argue that
this statement was “merely an opinion and not a statement of fact.” Doc. No. 29-1, p. 4.
The defendants cite to no authority and give no legal analysis to support this argument.
The argument has no merit.
       The judicially created exclusionary rule to the Fourth Amendment “forbids the use
of improperly obtained evidence at trial.” United States v. Barnum, 564 F.3d 964, 968-69
(8th Cir. 2009) (quoting Herring v. United States, 555 U.S. 135, 129 S. Ct. 695, 699
(2009)). Not every Fourth Amendment violation, however, results in exclusion of the
evidence obtained pursuant to a defective search warrant. United States v. Hamilton, 591
F.3d 1017, 1027 (8th Cir. 2010) (citing Herring, 555 U.S. at ___, 129 S. Ct. at 700).
Rather, the exclusionary rule is “designed to safeguard Fourth Amendment rights generally
through its deterrent effect.” Herring, 555 U.S. at ___, 129 S. Ct. at 699 (quoting United
States v. Calandra, 414 U.S. 338, 348, 94 S. Ct. 613, 620 (1974)). In this regard, the
rule applies only where it results in appreciable deterrence, id. at ___, 129 S. Ct. at 700,
and in applying the rule the court balances the benefits of deterrence against the costs of
excluding the evidence. Hamilton, 591 F.3d at 1028. The court also assesses the
flagrancy of the police misconduct in determining the application of the exclusionary rule,
which serves to “deter deliberate, reckless, or grossly negligent conduct, or in some
circumstances recurring or systemic negligence.” Herring, 555 U.S. at ___, 129 S. Ct.
at 702; see Hamilton, 591 F.3d at 1029.
       “If an affidavit in support of a search warrant sets forth sufficient facts to lead a
prudent person to believe that there is a fair probability that contraband or evidence of a


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crime will be found in a particular place, probable cause to issue the warrant has been
established.” United States v. Grant, 490 F.3d 627, 631 (8th Cir. 2007) (quoting Illinois
v. Gates, 462 U.S. 213, 238, 103 S. Ct. 2317, 2332 (1983); United States v. Warford, 439
F.3d 836, 841 (8th Cir. 2006)) (internal quotation marks omitted). “Whether probable
cause to issue a search warrant has been established is determined by considering the
totality of the circumstances, and resolution of the question by an issuing judge should be
paid great deference by reviewing courts.” Id. at 631-32 (quoting Gates, 462 U.S. at 236,
103 S. Ct. at 2331) (internal quotation marks omitted). Accordingly, the court examines
the sufficiency of a search warrant affidavit “using a common sense and not a
hypertechnical approach.” Id. at 632 (quoting United States v. Solomon, 432 F.3d 824,
827 (8th Cir. 2005)) (internal quotation marks omitted). “When reviewing a probable
cause finding, the duty of this court is simply to ensure that the judicial officer that
authorized the search had a substantial basis for concluding that probable cause
existed . . . .” United States v. Buchanan, 574 F.3d 554, 561 (8th Cir. 2009) (quoting
Gates, 462 U.S. at 238-39, 103 S. Ct. at 2332) (internal quotation marks omitted). If the
issuing judge had a substantial basis for concluding that a search would uncover evidence
of wrongdoing, his determination of probable cause should be upheld. United States v.
Stevens, 530 F.3d 714, 718 (8th Cir. 2008) (citing Gates, 462 U.S. at 236, 103 S. Ct. at
2331).
         Thus, the scope of this court’s review of the search warrant in this case is limited
to a determination of whether the magistrate had a “substantial basis” to conclude a search
would uncover evidence of wrongdoing. In conducting this review, the court is mindful
that “affidavits are normally drafted by nonlawyers in the midst and haste of a criminal
investigation.” Gates, 462 U.S. at 235, 103 S. Ct. at 2330 (internal quotation marks
omitted). “[M]any warrants are . . . issued on the basis of nontechnical, common-sense
judgments of laymen applying a standard less demanding than those used in more formal


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legal proceedings.” Id. at 235-36, 103 S. Ct. at 2331. The task of the issuing judge is
simply “to make a practical, common-sense decision whether, given all the circumstances
set forth in the affidavit before him, including the ‘veracity’ and ‘basis of knowledge’ of
persons supplying hearsay information, there is a fair probability that contraband or
evidence of a crime will be found in a particular place.” Id. at 238, 103 S. Ct. at 2332.
       Notably, even if, in hindsight, the information in the affidavit is deemed insufficient
to support a finding of probable cause to issue the warrant, the evidence will not be
suppressed if the officers acted in reasonable, good faith reliance on a search warrant
issued by a neutral and detached magistrate. United States v. Leon, 468 U.S. 897, 922-23,
104 S. Ct. 3405, 3420, 82 L. Ed. 2d 677 (1984); accord United States v. Lucca, 377 F.3d
927, 933 (8th Cir. 2004). “Nevertheless, the officer’s reliance on the magistrate’s
probable-cause determination and on the technical sufficiency of the warrant he issues must
be objectively reasonable, . . . and it is clear that in some circumstances the officer will
have no reasonable grounds for believing that the warrant was properly issued.” Leon,
468 U.S. at 922-23, 104 S. Ct. at 3420 (citations and footnote omitted). As the United
States Supreme Court noted in Leon:
              It is necessary to consider the objective reasonableness, not
              only of the officers who eventually executed a warrant, but
              also of the officers who originally obtained it or who provided
              information material to the probable-cause determination.
              Nothing in our opinion suggests, for example, that an officer
              could obtain a warrant on the basis of a “bare bones” affidavit
              and then rely on colleagues who are ignorant of the
              circumstances under which the warrant was obtained to
              conduct the search. [Citations omitted.]
Id., 468 U.S. at 923 n.24, 104 S. Ct. at 3420 n.24.
       Thus, if serious deficiencies exist either in the warrant application itself (e.g., where
“the magistrate or judge in issuing a warrant was misled by information in an affidavit that
the affiant knew was false or would have known was false except for his reckless disregard


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of the truth,” id., 468 U.S. at 923, 104 S. Ct. at 3421 (citing Franks v. Delaware, 438
U.S. 154, 98 S. Ct. 2674, 57 L. Ed. 2d 667 (1978)), or in the magistrate’s probable cause
determination, then the Leon good faith exception may not apply. As the Leon Court
explained:
                     Deference to the magistrate, however, is not boundless.
             It is clear, first, that the deference accorded to a magistrate’s
             finding of probable cause does not preclude inquiry into the
             knowing or reckless falsity of the affidavit on which that
             determination was based. Second, the courts must also insist
             that the magistrate purport to “perform his ‘neutral and
             detached’ function and not serve merely as a rubber stamp for
             the police.” A magistrate failing to “manifest that neutrality
             and detachment demanded of a judicial officer when presented
             with a warrant application” and who acts instead as “an
             adjunct law enforcement officer” cannot provide valid
             authorization for an otherwise unconstitutional search.
                     Third, reviewing courts will not defer to a warrant
             based on an affidavit that does not “provide the magistrate
             with a substantial basis for determining the existence of
             probable cause.” “Sufficient information must be presented to
             the magistrate to allow that official to determine probable
             cause; his action cannot be a mere ratification of the bare
             conclusions of others.” Even if the warrant application was
             supported by more than a “bare bones” affidavit, a reviewing
             court may properly conclude that, notwithstanding the
             deference that magistrates deserve, the warrant was invalid
             because the magistrate’s probable-cause determination
             reflected an improper analysis of the totality of the
             circumstances, or because the form of the warrant was
             improper in some respect.
Leon, 468 U.S. at 914-15, 104 S. Ct. at 3416 (internal citations omitted). The Court noted
that good faith on law enforcement’s part in executing a warrant “is not enough,” because
“[i]f subjective good faith alone were the test, the protections of the Fourth Amendment
would evaporate, and the people would be ‘secure in their persons, houses, papers, and
effects,’ only in the discretion of the police.” Leon, 468 U.S. at 915 n.13, 104 S. Ct. at

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3417 n.13 (citing Beck v. Ohio, 379 U.S. 89, 97, 85 S. Ct. 223, 228, 13 L. Ed. 2d 142
(1964), and Henry v. United States, 361 U.S. 98, 102, 80 S. Ct. 168, 171, 4 L. Ed. 23
134 (1959)).
       Even if a magistrate improperly analyzes the totality of the circumstances in finding
probable cause, under Leon, the exclusionary rule should not be applied to exclude
evidence as a means of punishing or deterring an errant or negligent magistrate. The
Supreme Court found that penalizing officers who act in good faith on a warrant for a
magistrate’s error in issuing the warrant “cannot logically contribute to the deterrence of
Fourth Amendment violations.” Leon, 468 U.S. at 921, 104 S. Ct. at 3419. The relevant
question is whether law enforcement actions were objectively reasonable; i.e., whether
“the offending officers acted in the objectively reasonable belief that their conduct did not
violate the Fourth Amendment.” Leon, 468 U.S. at 918, 104 S. Ct. at 3418. The Leon
Court noted:
                       As we observed in Michigan v. Tucker, 417 U.S. 433,
               447, 94 S. Ct. 2357, 2365, 41 L. Ed. 2d 182 (1974), and
               reiterated in United States v. Peltier, 422 U.S. at 539, 95 S.
               Ct. at 2318:
                              “The deterrent purpose of the
                       exclusionary rule necessarily assumes that the
                       police have engaged in willful, or at the very
                       least negligent, conduct which has deprived the
                       defendant of some right. By refusing to admit
                       evidence gained as a result of such conduct, the
                       courts hope to instill in those particular
                       investigating officers, or in their future
                       counterparts, a greater degree of care toward the
                       rights of an accused. Where the official action
                       was pursued in complete good faith, however,
                       the deterrence rationale loses much of its force.”
               The Peltier Court continued, id. at 542, 95 S. Ct. at 2320:




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                           “If the purpose of the exclusionary rule is
                    to deter unlawful police conduct, then evidence
                    obtained from a search should be suppressed
                    only if it can be said that the law enforcement
                    officer had knowledge, or may properly be
                    charged with knowledge, that the search was
                    unconstitutional under the Fourth Amendment.”
Leon, 468 U.S. at 919, 104 S. Ct. at 3418-19.
      Applying these standards, the court finds that the search warrant was supported by
probable cause. Even if probable cause did not support the warrant or the warrant were
deficient, suppression of the evidence seized pursuant to the warrant is not appropriate
under the principles of Leon. See Herring, 555 U.S. at ___, 129 S. Ct. at 700 (exclusion
has always been a last resort).
      In their brief, the defendants allege “[t]here is no way of knowing” whether the
statement in the affidavit that methamphetamine precursors were found in the trunk was
true. Doc. No. 29-1, p. 4. The do not allege that the statement was false or that the
statement was an intentional or reckless misrepresentation of the truth. To the extent the
defendants are arguing that the warrant should be invalidated because of this statement,
they have not made the showing required by Franks v. Delaware, 438 U.S. 154, 98 S. Ct.
2674, 57 L. Ed. 2d 667 (1978). To even be entitled to a hearing on this claim, the
defendants first must make a “substantial preliminary showing” that a false statement
necessary to the finding of probable cause was “knowingly and intentionally, or with
reckless disregard for the truth,” included in the warrant affidavit. Franks, 438 U.S. at
155, 98 S.Ct. 2674. They have not even attempted to make such a showing. See United
States v. Crissler, 539 F.3d 831, 834 (8th Cir. 2008) (defendant made no offer of proof
that alleged omissions from affidavit were intentionally or recklessly omitted); see also
United States v. Freeman, 625 F.3d 1049, 1052 (8th Cir. 2010).




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                                    B. Validity of Warrant
          The defendants next argue that the Wright County magistrate who issued the search
warrant did not have authority to issue a warrant for a search of property in Hamilton
County. They support this argument by citing to two cases from the Sixth Circuit Court
of Appeals, United States v. Scott, 260 F.3d 512 (6th Cir. 2001), and United States v.
Master, 614 F.3d 236 (6th Cir. 2010). In Scott, the court held that Leon did not save a
search warrant issued by a retired judge, who was not authorized under state law to issue
the warrant, because the warrant was void ab initio. In Master, the court again was
presented with a search warrant issued by a judge not authorized to issue the warrant, but
held that the holding in Scott was no longer viable after the decision of the United States
Supreme Court in Herring v. United States, 555 U.S. 135, 129 S.Ct. 695, 172 L.Ed.2d
496 (2009). Master, 614 F.3d at 243. In Master, the court remanded to the district court
to apply the principles of Leon, as explained in Herring, to the search warrant.
          In light of Herring, it is questionable whether these Sixth Circuit cases support the
argument made by the defendants here, but even if they did, the basic premise of the
argument is faulty.       Their argument depends on the defendants’ contention that a
magistrate appointed in one county had no authority under Iowa law to issue a search
warrant for a search of property in another county. This very question was addressed by
the Iowa Supreme Court in State v. Groff, 323 N.W.2d 204 (Iowa 1982). The Court
stated:
                         [D]efendants challenge the warrant on the ground that
                 a magistrate for Washington County has no authority to issue
                 a warrant for the search of property located in Iowa County.
                 They argue that a magistrate is limited to acting “within the
                 district” of his appointment, under section 602.60, The Code
                 1979.
                         Section 602.62 provides that the procedure to be
                 followed by magistrates in issuing search warrants is set forth
                 in chapter 808 of the Code. Under section 808.3, any person


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        may make an application for the issuance of a search warrant
        “before any magistrate.” Section 808.4 governs the issuance
        of search warrants and provides:
               Upon a finding of probable cause for grounds to
               issue a search warrant, the magistrate shall issue
               a warrant, signed by the magistrate with his or
               her name of office, directed to any peace officer,
               commanding that peace officer forthwith to
               search the named person, place, or thing within
               the state for the property specified, and to bring
               any property seized before the magistrate.
        (Emphasis added.) Under that section a magistrate may direct
        a peace officer to search a person, place, or thing “within the
        state” for the specified property.
               Prior to the revision of the criminal code, the issuance
        of search warrants was governed by section 751.5, The Code
        1977. That section provided:
               If the magistrate is satisfied from his
               examination of the applicant, and of other
               witnesses, if any, and of the allegations of the
               information, of the existence of the grounds of
               the application, or that there is probable cause to
               believe their existence, he shall issue a search
               warrant, signed by him with his name of office,
               directed to any peace officer in the county,
               commanding him forthwith to search the person
               or place named for the property specified, and
               bring said property before him.
               (Emphasis added.) According to Professors
               Yeager and Carlson, “The drafting
               subcommittee voted to delete ‘in the county’
               from former § 751.5, to avoid any
               county-boundary limitation to searches.” J.
               Yeager and R. Carlson, Iowa Practice § 893
               (1979).
               The deletion of the words “in the county” from former
        section 751.5 and the inclusion of the words “within the state”
        in present section 808.4 lead us to believe that the legislature
        intended magistrates to have the authority to issue search


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                warrants for property located outside the county of their
                appointment. Section 602.60 does not alter our conclusion.
                That section merely limits the magistrate to exercising his
                power from within his appointed district. Magistrate Shepard
                had authority to issue the warrant for defendants’ Iowa County
                residence.
Groff, 323 N.W.2d at 213; see Iowa Code § 808.4 (“Upon a finding of probable cause for
grounds to issue a search warrant, the magistrate shall issue a warrant ...directed to any
peace officer,1 commanding that peace officer forthwith to search the named person, place,
or thing within the state for the property specified....”) (emphasis added).
        The Iowa Supreme Court has expressly held that a magistrate appointed in one
county has the authority to issue a search warrant for a search of property in another
county. The defendants’ argument, based on an assumption that a magistrate does not have
such authority, is without merit.


                                   C. Fruit of Poisonous Tree
        The defendants ask the court to suppress pharmacy pill logs that were obtained by
following up on items seized during the search of the defendants’ residence. They argue
the pill logs are the fruit of the poisonous tree. Since the defendants have not shown that
the warrant was unlawful, this argument also has no merit.


        For the reasons discussed above, IT IS RESPECTFULLY RECOMMENDED that
the motion to suppress be denied. Objections to this Report and Recommendation must
be filed by May 5, 2011. Responses to objections must be filed by May 12, 2011.



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         In what appears to be a “throwaway” argument, the defendants assert, without support, that “The
application for the search warrant was sworn to by a Wright County Sheriff who does not have jurisdiction
to search a residence in Hamilton County.” Doc.No. 29-1, p. 1. The language in § 808.4 providing that
a search warrant can be directed “to any peace officer” forecloses this claim.

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      IMPORTANT NOTE: Any party planning to lodge any objection to this Report and
Recommendation must order a transcript of the hearing promptly, but not later than
April 25, 2011, regardless of whether the party believes a transcript is necessary to
argue the objection. If an attorney files an objection to this report and recommendation
without having ordered the transcript as required by this order, the court may impose
sanctions on the attorney.
      IT IS SO ORDERED.
      DATED this 21st day of April, 2011.




                                        PAUL A. ZOSS
                                        CHIEF MAGISTRATE JUDGE
                                        UNITED STATES DISTRICT COURT




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